884 F.2d 1388Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alvin Lee GREGORY, Plaintiff-Appellant,v.Donald E. BORDENKIRCHER, Warden, Defendant-Appellee.
    No. 89-6555.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 29, 1989.Decided Aug. 15, 1989.
    
      Alvin Lee Gregory, appellant pro se.
      Chauncey H. Browning, Jr., Office of the Attorney General of West Virginia, for appellee.
      Before DONALD RUSSELL, WIDENER, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Alvin Lee Gregory appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Gregory v. Bordenkircher, CA-83-121-E-K (N.D.WVa. Jan. 13, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    